337 F.2d 383
    UNITED STATES of Americav.Daniel F. MARUCCI, Appellant.
    No. 14520.
    United States Court of Appeals Third Circuit.
    Argued Oct. 5, 1964.Decided Oct. 29, 1964.
    
      John M. Bader, Wilmington, Del.  (Bader &amp; Biggs, Wilmington, Del., on the brief), for appellant.
      Stanley C. Lowicki, Asst. U.S. Atty., Wilmington, Del.  (Alexander Greenfeld, U.S. Atty., Wilmington, Del., on the brief), for appellee.
      Before KALODNER, GANEY and FREEDMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      On review of the record we find no error.  The judgment of sentence entered pursuant to the jury's verdict will be affirmed.
    
    